                                    IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                            CHARLOTTE DIVISION
                                            3:22-CR-00016-RJC-DSC
                USA                            )
                                               )
                  v.                           )                            ORDER
                                               )
                JUAN OCTAVIO IRIBE LAVEAGA (1) )
                                               )

                          THIS MATTER is before the Court upon motion of the defendant pro se for a

               reduction of sentence based on Amendment 821 to the United States Sentencing

               Guidelines relating to certain zero-point offenders. (Doc. No. 35).

                          Part B, Subpart 1 of the Amendment is retroactive and created a two-level

               decrease if a defendant meets all the criteria in USSG §4C1.1(a). USSG §1B1.10(d),

               comment. (n.7). Here, the defendant admitted that he possessed a firearm in his

               residence where law enforcement also found 3.75 kilograms of fentanyl. (Doc. No.

               27: Presentence Report ¶¶22, 23). He also received an aggravated role

               enhancement. (Id. ¶32). Accordingly, he is not eligible for relief. USSG §

               4C1.1(a)(7), (10).

                                IT IS, THEREFORE, ORDERED that the defendant’s motion is

               DENIED.


Signed: January 3, 2024




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